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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
ICE                                                 Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    June 12, 2019


The Honorable Edgardo Ramos
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

           Re:    United States v. Elizabeth Ann Pierce
                  S1 18 Cr. 388 (ER)

Dear Judge Ramos:

        The sentencing proceeding in the above-referenced matter is scheduled for June 19, 2019,
at 10:00 a.m. The Government respectfully submits for the Court’s consideration: this letter, six
Victim Impact Statements attached hereto as Exhibits A to F, a proposed Preliminary Order of
Forfeiture/Money Judgment, and supporting documentation for two victims’ claims for restitution,
attached hereto as Exhibits G and H. A proposed Order of Restitution will be submitted promptly
after sentencing. As described below, the applicable sentencing range pursuant to the U.S.
Sentencing Guidelines (“Guidelines” or “U.S.S.G.”) is 210 to 262 months’ imprisonment. For the
reasons discussed below, the Government requests that the Court impose a substantial sentence of
imprisonment, slightly below the twelve-year term recommended by the Probation Office, along
with forfeiture and restitution. The Government further moves for permission to file a redacted or
anonymized version of the Government’s sentencing submission.

I. The Offense Conduct

                                           Overview

        Elizabeth Ann Pierce (the “defendant” or “Pierce”), the former Chief Executive Officer
(“CEO”) of Quintillion, forged multiple sales contracts that would supposedly generate upwards
of a billion dollars in guaranteed revenue over 20 years to Quintillion. Pierce then used those
forged contracts to trick two investment companies into providing more than $270 million in debt
and equity financing to Quintillion to build a fiber optic cable network in Alaska. She did so
knowing that the investment companies would not have provided the needed funding without those
forged sales contracts. Moreover, had the investment companies been aware that Pierce would
resort to forgery, they never would have done any business with her, even if some of the sales
contracts she negotiated were legitimate.

      As set forth in detail in the Presentence Investigation Report (“Presentence Report” or
“PSR”), Pierce was the founder and, until July 2017, the CEO of Quintillion, a telecommunications
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company located in Alaska. 1 Quintillion built, operates and markets a high-speed fiber optic cable
system that serves various communities in Alaska (the “Quintillion System”). (PSR ¶ 9). Between
in or about May 2015 and in or about July 2017, Pierce perpetrated a brazen fraud scheme against
Cooper Investment Partners (“CIP”) and Natixis New York Branch (“Natixis”; together, the
“Victim Firms”). Specifically, in order to induce the Victim Firms to provide the massive amount
of financing needed to construct the Quintillion System, Pierce presented contracts (collectively,
the “Fake Revenue Agreements”) with four Alaska-based telecom services companies
(collectively, the “Victim TelCos”) that purportedly contained binding commitments by the Victim
TelCos to purchase specific wholesale quantities of capacity – measured in gigabits per second
(“Gbps”) – from Quintillion at specified prices once the Quintillion System was built. (PSR ¶ 12).
Based on conversations with CIP representatives, Pierce knew that without the revenue stream
assured by those Fake Revenue Agreements, the Victim Firms would not buy into the project.

       The defendant initially attempted to secure legitimate revenue agreements with the Victim
TelCos. When those efforts failed, or did not yield the guaranteed revenue she knew would be
needed to induce the Victim Firms to invest in her company, Pierce turned to forgery.
Unbeknownst to the Victim TelCos, Pierce forged their executives’ signatures on at least eight
Fake Revenue Agreements and related purchase orders. In some cases, Pierce did so even though
some of the Victim TelCos had already rejected key terms that she included in the respective Fake
Revenue Agreements. In other cases, negotiations were still ongoing when Pierce forged the
counterparty’s signature, and subsequently collapsed. Pierce presented the Fake Revenue
Agreements to CIP as legitimate contracts that would produce a guaranteed stream of future
earnings. Relying on Pierce’s representations and the Fake Revenue Agreements, the Victim
Firms provided over $270 million in equity and debt financing to Quintillion. (PSR ¶ 13).

        Over the course of the scheme, Pierce attempted to cover up her fraud, by continuing to
attempt to negotiate with the Victim TelCos in hopes of reaching agreements identical to the ones
she fabricated. Her efforts were mostly unsuccessful. The defendant completely failed to secure
any revenue contract with one of the Victim TelCos, and the agreements she reached with the other
three Victim TelCos contained less favorable terms for Quintillion than the Fake Revenue
Agreements, such as a smaller mandatory capacity purchase commitment, or no commitment at
all. Pierce kept these genuine, but inferior, contracts hidden from the Victim Firms. (PSR ¶ 13).
When Quintillion and CIP ultimately discovered the fraud in mid-2017, they learned that the real
agreements actually negotiated by Pierce would generate only a small percentage of the anticipated
guaranteed revenue of the Fake Revenue Agreements she forged.




1
  There are various related Quintillion companies which were reorganized during the relevant
period and which currently have parent companies. One set of those companies owns and operates
the land-based portion of the Fiber Optic System; the other set of Quintillion companies owns and
operates the subsea portion of the Fiber Optic System. The corporate structure of Quintillion is not
material to this motion. Thus, for purposes of this motion, we refer to all of the Quintillion
companies, individually and collectively, as “Quintillion.”
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                                    The Quintillion System

        Beginning at least in or about 2014, Pierce and others conceived of a plan to build an
international, high-speed fiber optic cable system that would run from Japan through Alaska to
England. The Alaska portion would consist of three segments (collectively, the “Quintillion
System”): an underwater segment that would span the Alaskan Arctic (the “Subsea System”); a
land-based segment that would run north to south along the Dalton Highway (the “Terrestrial
System”); and a land-based network of pre-existing and new fibers (the “In-Field System”) that
would connect the Subsea System as well as the oil and gas fields in Prudhoe Bay to the
Terrestrial System. The Terrestrial System would connect to the lower 48 States via a network
of existing fibers operated by other telecommunications carriers. The plan was to sell broadband
capacity from the Quintillion System exclusively to governmental entities and other carriers that,
in turn, would resell that capacity to retail end users such as businesses, households and
individuals. (PSR ¶ 16).

        Quintillion’s revenue agreements are called capacity service agreements (“CSAs”). They
contained certain standard provisions, including: price per Gbps per month; originating and
ending points of service; the customer’s minimum capacity purchase commitment, if any; the
customer’s incremental capacity commitment, if any; acceptable and/or prohibited resale
customers, if any; and reference to an order form. Importantly, some of the CSAs were so-called
“take-or-pay” contracts. Under a “take-or-pay” CSA, a customer agreed to buy a predetermined
amount of capacity regardless of its ability to use or resell that capacity. Other CSAs contained
no minimum capacity purchase commitment from the customer. Rather, the customer’s purchase
obligation was triggered if, and only if, the customer chose to submit an order form to
Quintillion, and the form was signed by both Quintillion and the customer, which effectively
converted the CSA into a take-or-pay contract. Take-or-pay contracts represented guaranteed
future earnings; CSAs without either a take-or-pay clause or an order form did not. The
defendant was the only person who signed revenue agreements and order forms on behalf of
Quintillion. (PSR ¶ 17).

                                    The Fraudulent Scheme

       Prior to 2015, Pierce had negotiated two genuine CSAs for the Quintillion System. One of
the two contracts 2 involved the sale of Subsea capacity to a certain telecommunications company
(“TelCo-1”). That contract was expected to produce, at a minimum, over $30 million in guaranteed
revenue per year for twenty years, but only if TelCo-1’s parent company guaranteed TelCo-1’s
performance. Pierce was unable to obtain that guarantee, and Quintillion and TelCo-1 ultimately
agreed to terminate their contract. To compensate for the lost earnings, Pierce informed CIP in
early 2015 that she would pursue a “Plan B,” which was to negotiate CSAs with TelCo-1’s
expected customers that would cumulatively yield comparable volume and value. (PSR ¶ 18).
CIP’s representatives made clear to Pierce that CIP would not commit construction funds without
replacement CSAs that would offset the loss of revenue from TelCo-1. That meant Pierce had to

2
 The second contract required the construction of the international portions of the originally
proposed fiber optic cable system, which has not been built. The contract has not been performed
and did not influence CIP’s decision to invest.
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secure new revenue agreements before June 2015 if construction was to begin that year, because
the construction route in the arctic for the Subsea System was accessible only from around June to
October. (PSR ¶ 19).

          Between May 14 and June 18, 2015, Pierce sent CIP three Fake Revenue Agreements
(two for the Terrestrial System and one for the Subsea System) that contained take-or-pay
clauses or were accompanied by executed order forms. Those three contracts supposedly
guaranteed Quintillion a minimum of $357,000,000 in revenue, and a maximum of over $1
billion if one of the customers purchased additional Subsea capacity, which Pierce assured CIP
would occur. (PSR ¶¶ 20-21). Unbeknownst to CIP, the defendant had forged the
counterparties’ signatures on each of those Fake Revenue Agreements and associated order
forms. Relying on those fraudulent contracts, CIP executed a $122 million-dollar contract to
build the Subsea System shortly after receiving the fake Subsea CSA. In November 2015, CIP
entered into another multi-million-dollar contract to build the Terrestrial System. (PSR ¶ 22).

        In early 2016, Quintillion and CIP began seeking supplemental debt financing from
potential lenders. Pierce knew from discussions with CIP that the amount of Quintillion’s
guaranteed revenue would affect the size of the loan. So, in May and September 2016, Pierce
forged counterparty signatures on two additional Fake Revenue Agreements which contained
terms that the respective Victim TelCos had specifically rejected. At around the same time,
Pierce also secretly negotiated genuine CSAs with the same TelCos. However, the genuine
CSAs contained provisions that significantly disadvantaged Quintillion. One genuine CSA did
not contain a take-or-pay clause, unlike its forged counterpart. The other genuine CSA gave
away valuable resale rights. Although Pierce knew that CIP would not have approved the
genuine CSAs because of the unfavorable terms, she signed them anyways and concealed them
from CIP, apparently hoping to buy time and use the early income stream from the genuine CSA
to make it appear that the fake CSAs were in effect. (PSR ¶ 23). Compounding the fraud, the
defendant also hid the fact that in order to induce one of the TelCos to enter into a genuine CSA,
she executed a side agreement (unknown to CIP) to give much of that money back, by obligating
Quintillion to buy from that TelCo 40 Gbps of unnecessary backhaul capacity (i.e., connecting
Alaska to the lower 48 States). See CIP Victim Impact Statement, dated June 7, 2019, attached
hereto as Exhibit A, at 3. Each of the Fake Revenue Agreements was incorporated into project
financing presentations to the eventual lender, Natixis, which approved a $50 million loan to
Quintillion in December 2016. (PSR ¶ 25).

        As detailed in CIP’s letter, the actual earnings from the genuine CSAs that the defendant
negotiated will be $480 million less than the sum that CIP had expected from the Fake Revenue
Agreements. 3 See Exh. A, at 3-4 (compare total Minimum Expected Full Term Revenue with
total Actual Full Term Revenue in chart).


3
  As noted in the Presentence Report, the figures in the chart in paragraph 24 are based on only the
CSAs as they existed in June 2015, when CIP executed the construction contract for the Subsea
System. (PSR ¶ 24). CIP’s calculations include other fraudulent agreements that post-date June
2015 as well as amendments to contract value as a result of Quintillion’s mitigation efforts after
the defendant resigned from Quintillion. See CIP Ltr, at 4.
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                            Fraud Against Two Individual Victims

        As part of Pierce’s scheme to secure financing for Quintillion through fraud, she also
swindled two individual investors: “Individual Victim-1” and “Individual Victim-2” (together,
the “Individual Victims”). Pierce led them to believe that they would acquire ownership
interests in Quintillion when, in fact, she used their money for her own personal benefit, which
included funding a $30,500 retirement account for herself. (PSR ¶ 39).

        In or about May 2013, while Quintillion was still in its planning phase, Pierce solicited an
investment from Individual Victim-1, purportedly for Quintillion. To induce the investment,
Pierce gave Individual Victim-1 a Quintillion operating agreement, a financing sheet, and other
projections. Between May 2013 and August 2014, Individual Victim-1 gave Pierce three checks,
totaling $325,000, which Pierce promised would be exchanged for shares in Quintillion. (PSR ¶
41). With each payment from Individual Victim-1, the defendant agreed to execute all necessary
paperwork to transfer shares to him. But instead of delivering on her promise, the defendant
stalled by giving Individual Victim-1 false explanations and projections without ever transferring
any shares to him, even though she herself did hold shares that she could have transferred. (PSR
¶ 42).

       Individual Victim-2 was similarly deceived. In August 2015, Pierce offered Individual
Victim-2 the opportunity to invest in a company named Alaska Fiber Holdings, LLC (“Alaska
Fiber”), which the defendant falsely held out to be a Quintillion shareholder. In exchange for a
$40,000 investment, the defendant promised Individual Victim-2 shares in Alaska Fiber. (PSR ¶
43). In reality, Alaska Fiber did not exist. Rather than admit the scam, the defendant falsely
blamed CIP for her failure to deliver any shares. (PSR ¶ 44).

        Records for an account held in the defendant’s and her husband’s names (the “Pierce
Bank Account”) revealed that she used all of Individual Victim-2’s investment and more than
half of the Individual Victim-1’s investment for her and her family’s benefit. She “lent” the
other half of Individual Victim-1’s investment to Quintillion, and later repaid herself, but not
Individual Victim-1, for those loans. (PSR ¶ 46).

                    The Attempted Cover-Up and Destruction of Evidence

         The Fake Revenue Agreements were take-or-pay contracts with the first payments due on
the day that the respective Quintillion System became operational. Accordingly, in March 2017,
in anticipation of the Terrestrial System being lit in April 2017, the Quintillion chief financial
officer, 4 who was not aware of the fraudulent scheme, began preparing customer invoices based
on the fake take-or-pay CSAs. Knowing that the Victim TelCos receiving the invoices would be
shocked to receive them, Pierce told more lies and fabricated more fake documents to delay the
exposure of her scheme. (PSR ¶ 27). For example, the defendant claimed that one of the
customers, Victim TelCo-2, had stopped communicating with her and might be unable to meet its
purported obligation to purchase 2 Gbps of capacity per month under its (forged) Terrestrial CSA.

4
  There is a typographical error in paragraph 27 of the PSR. Instead of “the Quintillion CEO … ,”
it should read “the Quintillion CFO ….”
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Pierce advised CIP not to threaten litigation so as not to jeopardize that Victim TelCo-2’s ability
to perform on its much larger Subsea CSA, which was also forged. Instead, the defendant assured
CIP that she would secure other contracts of comparable value and concocted a fraudulent email
to Victim TelCo-2 in which she pretended to cancel certain resale rights under its forged Terrestrial
CSA. The defendant then “forwarded” that email to others at Quintillion in order to create the
appearance of a contractual relationship with Victim TelCo-2 when, in fact, none existed. (PSR ¶
28).

        To replace the 2 Gbps of Terrestrial capacity that Victim TelCo-2 was supposedly going
to buy, Pierce did negotiate two other agreements, each for 1 Gbps per month. One was legitimate;
the other was not. The defendant told CIP that another telecom company, Victim TelCo-5, which
had previously contracted to purchase 2 Gbps of Terrestrial capacity, had agreed to purchase one
more Gbps. That was a lie and the contract that supposedly memorialized that agreement (styled
as an Interim Indefeasible Right of Use (“IRU”) Agreement) was forged. Around the same time,
Pierce executed a substantially less favorable genuine Interim IRU Agreement with Victim TelCo-
5 which she concealed from the Victim Firms. The genuine version did not offset one Gbps’ worth
of lost revenue from the fake Victim TelCo-2 Terrestrial CSA. Instead, the defendant structured
the amount and timing of payments under the fake Victim TelCo-5 Interim IRU Agreement so that
they seemed to cover a third Gbps of capacity from Victim TelCo-5. (PSR ¶ 29).

       This pattern of cover-up continued with yet another contract. By April-May 2017, another
Victim TelCo, Victim TelCo-3, had received an invoice based on a forged Terrestrial CSA that
Victim TelCo-3 had not known existed. Pierce needed Victim TelCo-3 to pay or her scheme would
be exposed. To that end, Pierce executed a genuine IRU Agreement with Victim TelCo-3 on
completely different terms than the fake Victim TelCo-3 Terrestrial CSA, and did not disclose it
to the Victim Firms. Again, she structured payments under the fake Victim TelCo-3 IRU
Agreement to make them appear to derive from the forged Victim TelCo-3 Terrestrial CSA. (PSR
¶ 30).

        The defendant’s scheme began to unravel when yet another Victim TelCo, Victim TelCo-
4, disputed invoices it received from Quintillion for capacity it had not ordered. When Quintillion
and CIP initiated an internal investigation, Pierce initially feigned surprise and blamed
Quintillion’s outside counsel for the fake Victim TelCo-4 CSA. The defendant also deleted four
documents containing forged counterparty signatures from a cloud-based account that she
controlled. Ultimately, rather than submit to an interview as part of the internal investigation,
Pierce resigned in July 2017 (PSR ¶¶ 32, 33, 35), months before the Subsea System became
operational in December 2017.

II. The Guilty Pleas

        On February 11, 2019, Pierce pleaded guilty to all nine counts in the Superseding
Indictment without a plea agreement. As such, Pierce stands to be sentenced for both the
underlying wire fraud committed in Count 1, as well as the additional eight counts of aggravated
identity theft in Counts 2 through 9, which each carry a mandatory two-year sentence. At least
one of those mandatory two-year sentences must run consecutive to whatever sentence the Court
imposes for the substantive fraud offense.
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III. Section 3553(a) Factors

        For the reasons discussed below, the Government respectfully submits that a substantial
sentence is warranted by the Section 3353(a) factors. However, the Government is not seeking a
Guidelines sentence because we believe it would be greater than necessary to accomplish the goals
of sentencing in this case.

   A. The nature and circumstances of the offense – 18 U.S.S.C. § 3553(a)(1)

        The offense was indisputably serious and warrants a substantial sentence. For years, Pierce
lied to her investors and business partners, including people who had considered her a friend, in
order to persuade them to invest over $270 million dollars in an infrastructure project of which she
was the CEO. To perpetrate her scheme, she concocted multiple fake contracts and purchase
orders on which she forged counterparty signatures, fictitious revenue projections, and bogus
emails with at least one telecom customer. Rather than admit that the earlier CSAs from May and
June 2015 were forged, she chose to compound her earlier lies by manufacturing yet more
agreements and concealing their inferior genuine counterparts. Indeed, Pierce even participated
in efforts to force Victim TelCo-4 to arbitrate a revenue agreement that she knew to be fraudulent.

        As a result of the defendant’s scheme, Quintillion’s actual earnings will be approximately
$480 million less than the “guaranteed” revenue that CIP had expected from the Fake Revenue
Agreements. See Exh. A, at 3-4 (compare total Minimum Expected Full Term Revenue with total
Actual Full Term Revenue). “Beyond the pure fraud loss, [the defendant’s] crimes caused CIP
and Quintillion substantial collateral harm.” Id. at 4. Among other things, CIP had to hire outside
counsel and forensic consultants to investigate the fraud; pay down the loan from Natixis; incur
additional cost from having to use source capital; commit substantial time and resources to
cooperate with the Government’s investigation and prosecution; and engage in litigation and
settlement efforts to try to renegotiate customer contracts and rebuild public trust after widespread
publicity about Pierce’s fraud as CEO. See id.

        The Victim TelCos have also been injured by Pierce’s fraudulent scheme. At a minimum,
all of them have had to commit substantial time and money to conduct their own internal
investigations when Quintillion initially sought to enforce the Fake Revenue Agreements. For
example, Victim TelCo-2 had to conduct a month-long investigation which entailed interviews
with “legal counsel, former and current Victim TelCo-2 employees and current and former Victim
TelCo-2 Board Members” and review of “voluminous electronic and physical files of relevant
Victim TelCo-2 employees,” all to prove that there was no genuine CSA between Quintillion and
Victim TelCo-2. See Victim TelCo-2 Victim Impact Statement dated May 28, 2019, attached
hereto as Exhibit B, at 2. Even after the internal investigation was concluded, the “upheaval lasted
for months and caused substantial distress and distraction” until Victim TelCo-2 was assured that
Quintillion would not pursue legal action to enforce the Fake Revenue Agreements. See id.

       The distress and upheaval also impacted the former Victim TelCo-2 executive (the “Victim
Executive”) whose signature Pierce had forged. He “was put in the position of having to prove a
negative,” and felt that his “professional reputation” and entire career were being called into
question. See Victim Executive’s Victim Impact Statement, dated May 1, 2019, attached hereto
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as Exhibit C, at 2. He also initially worried that he had to spend a great deal of his own money to
defend himself, until Victim TelCo-2 determined that he was a victim. See id.

        Two of the Victim TelCos were also investors in the Quintillion System. Although not
defrauded in the same way that the Victim Firms were, their investments were also negatively
affected by the fraudulent scheme. As Victim TelCo-3 explains, Pierce had “represented to
[Victim TelCo-3] that if it purchased initial capacity on the Quintillion network its future purchase
obligations and costs would be reduced as additional subscribers entered into contracts with
Quintillion.” See Victim TelCo-3’s Victim Impact Statement, dated May 2, 2019, attached hereto
as Exhibit D, at 1-2. However, as a result of the fraudulent scheme and the ensuing negative
publicity, Victim TelCo-3 has not realized those cost savings because other potential subscribers
have been slow to purchase capacity from Quintillion. See id. Moreover, Pierce’s fraud “cast a
shadow” on Victim TelCo-3’s reputation because it had invested in and assisted Quintillion with
the Quintillion System, even though it had done so without knowing about the fraudulent scheme.
See id. at 2.

        Pierce also defrauded the Individual Victims, who knew the defendant professionally and
thought they were investing in Quintillion. While in absolute terms, the pecuniary loss to these
victims is overshadowed by the magnitude of CIP’s investment, the impact was no less devastating
to them. Pierce’s fraud has caused Individual Victim-1 and his family “substantial financial loss,
delayed retirement planning, and induced considerable mental strain,” especially since they had
considered Pierce a friend. See Individual Victim-1’s Victim Impact Statement, attached hereto
as Exhibit E, at 1. The $325,000 that Individual Victim-1 invested with Pierce represented roughly
one-third of his retirement savings, which he cannot easily replace because he is retired. To date,
Individual Victim-1 has received no money or shares in return for his investment from Pierce. 5

        The defendant also defrauded Individual Victim-2 of $40,000. To date, Individual Victim-
2 has received none of her money back and no shares. Instead, months after Pierce resigned, she
made a bizarre offer to name Individual Victim-2 a beneficiary in the defendant’s will. See
Individual Victim-2’s Victim Impact Statement, attached hereto as Exhibit F, at 2. The
Government believes that this was an attempt to prevent Individual Victim-2 from complaining to
the authorities. Like Individual Victim-1, Individual Victim-2 has been emotionally devastated by
the defendant’s fraud. She “lost a lot of sleep worrying about the money [she] lost and how to
make it up to [her] family.” Id. Having been defrauded, she is now less trustful of others,
embarrassed that she had worked for Pierce and Quintillion, and feels guilty that she had not seen
warning signs. Id.


5
  According to the Presentence Report, Pierce’s liabilities include a $375,000 debt to Individual
Victim-1. That is the amount of a Judgment on Confession resulting from Individual Victim-1’s
civil lawsuit against Pierce. The Government notes that CIP and Individual Victim-1 have reached
an agreement whereby CIP will voluntarily transfer a certain percentage of any shares it may
receive as part of restitution in the instant case to Individual Victim-1. In consideration of that
transfer, Individual Victim-1’s attorney has informed the Government that his client would not
seek to enforce the Judgment on Confession. To date, Individual Victim-1 has recovered none of
his investment.
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        Pierce used more than half of Individual Victim-1’s investment to pay her and her family’s
personal expenses during the two years before she was able to land CIP as an investor. For
example, Pierce opened a retirement account in her own name with $30,500 on the same day that
she deposited Individual Victim-1’s first check for $100,000 into her personal bank account; wrote
a check to her adult son for $500 with the memo “Just because”; and used thousands of dollars to
pay the mortgage of her and her spouse’s residence and fund her spouse’s business. She used all
of Individual Victim-2’s investment to cover personal and familial expenses. The defendant
informed the Probation Office that she did not earn a salary in her first two years of working at
Quintillion. (PSR ¶ 98). While she may not have received, technically speaking, a “salary” during
those two years, her bank account statements for the period from February 2013 to September
2014 reflect nearly $200,000 of “Direct Pay Deposits” from the two Quintillion entities.

        In short, Pierce’s actions reflected a determination to build a fiber optic network of which
she would be the CEO, and to get paid for doing so, without regard for the costs to the Victim
Firms, the Individual Victims, the telecom customers, or the credibility of Quintillion itself. And
while Pierce did not abscond with the money provided by the Victim Firms – the primary reason
why the Government supports a below-Guidelines sentence – she did receive over $730,000 in
cash compensation and benefits as CEO, squander the bulk of the money from the Individual
Victims for her own and her family’s benefit and, stood to gain financially as a Quintillion
shareholder. The nature and circumstances of her crimes warrant a substantial sentence.

   B. The history and characteristics of the defendant – 18 U.S.S.C. § 3553(a)(1)

        The history and characteristics of the defendant also weigh in favor of a substantial
incarceratory sentence. Pierce led a comfortable middle class life and was consistently gainfully
employed before she committed the instant crimes. She has a college degree with a major in
electrical engineering technology. (PSR ¶ 94). From 1991 to 2001, she worked for a radar
company, earning $100,000 a year. From 2001 to 2012, she held various positions with a
telecommunications company in Alaska, earning between $135,000 and $145,000 a year. (PSR ¶
100). From 2012 to 2013, she earned between $10,000 and $25,000 per month as a freelance
management consultant. (PSR ¶ 99). While Pierce’s gainful employment prior to 2013 supports a
downward variance from the Guidelines range of 210 to 262 months, which is driven primarily by
the loss amount, it also underscores that her primary motivation in committing this crime was not
some sort of financial desperation, but rather ruthless ambition and greed.

        At the same time, her educational and family background also supports a substantial
sentence. In light of her educational and family background and demonstrated earning potential,
she had no financial excuse for engaging in criminal conduct. Moreover, her husband was
gainfully employed by a labor union and is a business owner, and two of her stepchildren are also
employed. (PSR ¶ 82). She committed fraud and aggravated identity theft because she placed her
ambition above the law.
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   C. The seriousness of the offense and the need for general and specific deterrence – 18
      U.S.C. § 3553(a)(2)(A)-(C)

       As discussed above, the offense was extremely serious. There is a need for both general
and specific deterrence. A substantial sentence is necessary to deter other executives from
investment fraud.

         A substantial sentence is also necessary for specific deterrence because Pierce committed
her crimes despite having had the benefit of consistently well-paid jobs. The fact that she had no
financial need to commit crime means that she was simply willing to defraud others in order to
achieve her goals. And although she has no prior criminal history, her criminal actions should not
be minimized as an aberration or a mistake. They began in at least May 2013, when she received
the first check for $100,000 from Individual Victim-1 and continued for over four years, during
which time she repeatedly lied to investors and forged other people’s signatures. They did not end
until her scheme was exposed in July 2017. Her duplicity was all the worse because she defrauded
not only strangers, but people who knew and trusted her. Given these circumstances, a substantial
sentence is necessary to achieve the goal of specific deterrence.

   D. Medical care – 18 U.S.C. § 3553(a)(2)(D)

       The Presentence Report noted that Pierce was diagnosed with a certain medical condition
in 2017. The Report also noted that she is currently stable with no follow-up treatment planned.
(PSR ¶ 88). Accordingly, there is no medical reason why a substantial sentence should not be
imposed.

IV. The Defense’s Arguments

        The defendant disputes the Guidelines calculation in the Presentence Report on two
grounds. First, Pierce challenges the loss calculation under U.S.S.G. § 2B1.1(b)(1). She claims
that the actual and intended loss to CIP is zero, not more than $270 million, as the Government
and the Probation Office found. (Def. Mem. at 2-4). Second, she contests the two-level
enhancement for sophisticated means under U.S.S.G. § 2B1.1(b)(10). (Def. Mem. at 4-5). For the
reasons discussed below, neither argument is availing.

   A. Loss Amount

       1. Applicable Legal Principles

       The Sentencing Guidelines defines “actual loss” as the “reasonably foreseeable pecuniary
harm that resulted from the offense,” and “intended loss” as “the pecuniary harm that the defendant
purposely sought to inflict[.]” U.S.S.G. § 2B1.1, comment. (n.3(A)(i) and (ii)). “Pecuniary harm”
means “harm that is monetary or that otherwise is readily measurable in money.” Id., comment.
(n.3(A)(iii)). “Reasonably foreseeable pecuniary harm” is “pecuniary harm that the defendant
knew or, under the circumstances, reasonably should have known, was a potential result of the
offense.” Id., comment. (n.3(A)(iv)).
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        The Application Notes to Guideline 2B1.1 identify non-exhaustive factors to consider in
estimating loss. Id., comment. (n.3(C)). Those factors include the fair market value of property
unlawfully taken, copied or destroyed; the cost of developing proprietary information, such as
trade secrets; the cost of repairs to damaged property; in cases involving large numbers of victims,
the average loss to each victim multiplied by the number of victims; the reduction in value that
resulted from the offense in the value of equity securities or other corporate assets; and the scope
and duration of the offense and revenues generated by similar operations. Id.

       Once the loss is estimated, the Guidelines instruct sentencing courts to reduce the loss
estimate by certain credits, including:

               (i)    The money returned, and the fair market value of the property
                      returned and the services rendered, by the defendant . . . before
                      the offense was detected. The time of detection of the offense
                      is the earlier of (I) the time the offense was discovered by a
                      victim . . . ; or (II) the time the defendant knew or reasonably
                      should have known that the offense was detected or about to be
                      detected by a victim . . . .

               (ii)   In a case involving collateral pledged or otherwise provided
                      by the defendant, the amount the victim has recovered at the
                      time of sentencing from disposition of the collateral, or if the
                      collateral has not been disposed of by that time, the fair
                      market value of the collateral at the time of sentencing.

Id., comment. (n.3(E)(i)-(ii)).

       2. The Presentence Report

        The Probation Office calculated a total offense level of 37, as follows: base offense level
of 7, pursuant to U.S.S.G. § 2B1.1(a)(1); increased by 28 levels because the loss amount was more
than $250 million but not more than $550 million, pursuant to § 2B1.1(b)(1)(O); increased by 2
more levels because the offense involved sophisticated means, pursuant to § 2B1.1(b)(10)(C); plus
an additional 2 levels for abuse of trust, pursuant to § 3B1.3; and minus 2 levels for acceptance of
responsibility, pursuant to § 3E1.1(a). At Criminal History Category, the resulting Guidelines
range is 210 to 262 months’ imprisonment.

       The Probation Office recommends an overall sentence of 144 months, which consists of
four years on Count 1, to be followed by individually consecutive sentences of two years each on
Counts 2 through 5 (i.e. an additional 8 years), as well as sentences of 24 months on counts 6
through 9 to run concurrent to the prior aggravated identity theft counts.

       Pursuant to Application Note 2(b) of Section 5G1.2 of the Sentencing Guidelines, “[i]n
determining whether multiple counts of 18 U.S.C. § 1028A should run concurrently with, or
consecutively to, each other, the court should consider the following non-exhaustive list of factors:
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               (i)    The nature and seriousness of the underlying offenses. For
                      example, the court should consider the appropriateness of
                      imposing consecutive, or partially consecutive, terms of
                      imprisonment for multiple counts of 18 U.S.C. § 1028A in a
                      case in which an underlying offense for one of the 18 U.S.C.
                      § 1028A offenses is a crime of violence or an offense
                      enumerated in 18 U.S.C. § 2332b(g)(5)(B);

               (ii)   Whether the underlying offenses are groupable under §3D1.2
                      (Groups of Closely Related Counts). Generally, multiple
                      counts of 18 U.S.C. § 1028A should run concurrently with one
                      another in cases in which the underlying offenses are
                      groupable under §3D1.2; [and]

               (iii) Whether the purposes of sentencing set forth in 18 U.S.C. §
                     3553(a)(2) are better achieved by imposing a concurrent or a
                     consecutive sentence for multiple counts of 18 U.S.C. §
                     1028A.

U.S.S.G. §5G1.2, comment. (n.2(B)).

        The Government respectfully submits that because the aggravated identity thefts in this
case arise from a single underlying fraud, they should run concurrent to each other. However, in
fashioning an overall sentence for the defendant, the Court should take into account the nature of
those crimes, including the fact that Pierce stole the identity of at least five different individuals
representing four different corporate entities, forged signatures on contracts committing those
victims to pay upwards of hundreds of millions of dollars to Quintillion, made independent
decisions to forge these contracts at eight different times over the course of about two years, from
May 2015 to May 2017, and in addition defrauded two individuals of $365,000, mostly for her
own personal benefit.

       3. The Loss Amount for Purposes of Calculating the Applicable
          Guidelines Range Should Be CIP’s Total Investment 6

         In keeping with the foregoing legal principles, the first step is to estimate the gross actual
loss, that is, the reasonably foreseeable pecuniary harm to the CIP. (The defendant does not dispute
the loss to the Individual Victims.) In this case, gross actual loss is CIP’s total investment post-
dating the first Fake Revenue Agreement in May 2015, through December 2017, when the entire
Quintillion System was completed, plus the $27 million 7 that CIP repaid Natixis after discovering

6
 In this section regarding the loss amount, references to CIP’s investment includes approximately
$27 million of the Natixis loan that CIP repaid following discovery of the fraud.
7
  The total loan was $50 million. Of that amount, $27 million had been drawn down by the time
the fraud was discovered. The unspent balance was returned to Natixis.
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Pierce’s fraud. That aggregate amount was approximately $270,577,670.00, representing the value
of “property unlawfully taken” through fraud. U.S.S.G. § 2B1.1, comment. (n.3(C)(i)); see United
States v. Turk, 626 F.3d 743, 750 (2d Cir. 2010) (holding that the loss was the total amount of a
fraudulently induced loan because, “[w]ithout this deceit, [the defendant] could not have obtained
her victims’ money.”). But for the Fake Revenue Agreements, CIP would never have invested.
See Exh. A, at 4. The defendant does not appear to contest this method for estimating gross loss.

        The second step is to determine if there are any applicable credits against loss. The
Probation Office correctly did not apply any credits. The defendant, on the other hand, claims that
credits against loss would reduce the net loss to CIP to zero, but has provided no specifics to
support that assertion. Her remarkable contention is primarily based on Application Note 3(E)(ii)
to Guideline 2B1.1, which deals with cases involving collateral. The crux of her argument is that
the Quintillion System has been built, is now operating, and has earnings from some legitimate
revenue contracts. Thus, the argument goes, the current value of Quintillion constitutes, or should
be treated like, collateral and deducted from CIP’s loss. (Def. Mem. at 3). This argument should
be rejected.

        The only meaningful security that CIP has is the expected revenue from the genuine CSAs.
The value of those CSAs derives solely from the construction of the Quintillion System, which
was financed entirely by CIP, not by the defendant. It would be absurd to reduce the victim’s loss
by the money that the victim itself had contributed. Moreover, it would be contrary to the
Guidelines. Application Note 3(E)(ii) “applies only to an offense ‘involving collateral pledged by
the defendant.’” See, e.g., United States v. Shuster, F.App’x 208, 211 (2d Cir. 2010) (finding
Application Note 3(E)(ii) inapplicable in the context of a Ponzi scheme because of the note); cf.
Turk, 626 F.3d at 745 (defendants offered mortgages in buildings they owned as collateral for a
loan to renovate those buildings). The CSAs did not belong to the defendant and, therefore, were
not hers to pledge. Accordingly, there should be no credit against loss based on Application Note
3(E)(ii).

       Approximately $161,800,000.00 of CIP’s total investment was in the form of equity
contributions. United States v. Komar, 529 F.App’x 28 (2d Cir. 2010), provides another reason
why the CSAs should not be used to offset the equity component of the total loss. In Komar, the
appellant had induced numerous people to invest in a partnership (the “Partnership”) that owned a
property in Brooklyn (the “Brooklyn Property”) through misrepresentations and omissions. Id. at
*29. At sentencing, the district court rejected Komar’s argument that the loss to the individual
investors should be reduced by the fair market value of the Brooklyn Property, which if sold could
be used to repay the investors. Id. The Second Circuit affirmed, explaining:

               The application notes significantly omit any direction to apply the
               value of an equity stake as a credit against actual loss, even as they
               prescribe an offset in two related situations: (1) where money or
               property is returned to a victim before the offense is detected, see §
               2B11, Application Note 3(E)(i); and (2) where collateral is pledged
               by the defendant to a victim, see id., Application Note 3(E)(ii).
               These provisions, neither of which applies here, demonstrate that the
               Sentencing Commission knows how to provide for an offset against
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               actual loss, but has chosen not to do so in the circumstances urged
               by Komar.

Id. at 29. Komar therefore teaches that CIP’s gross loss should be measured by the amount it was
fraudulently induced to invest and that loss should not be offset by its equity stake, i.e., revenue
from any legitimate CSAs.

        Application Note 3(E)(i) offers the defendant no solace for a further reason. Under the
plain language of Application Note 3(E)(i), there should be no credit against loss because the
defendant returned no money or property to CIP before the defendant “knew or reasonably should
have known that the offense was detected or about to be detected by” CIP. U.S.S.G. § 2B1.1,
comment. (n.3(E)(i)). The defendant clearly knew by April 2017 at the latest, when the first
invoices were sent to customers which had no payment obligations, that her gig was up. As of
April 2017, she had returned no money or property to CIP, and no payments had been made on
any legitimate CSAs. See United States v. Bryson, 101 F.Supp.3d 147, 156 (D. Conn. Apr. 1,
2015) (declining to offset loss by amount received by victims during the defendants’ bankruptcy
proceedings because Application Note 3(E)(i) only applies to “money returned to the victim before
the offense was detected” (emphasis in original)).

        If the Court were nonetheless to give credit against loss – which it should not do – then the
Government submits that it should first determine the percentage drop in the value of CIP’s
investment, and then multiply CIP’s gross loss by that percentage. This was the approach used in
Bryson. In that case, there were two classes of victim-investors. One group invested after the
onset of the charged wire fraud conspiracy and had been led to believe that they would acquire a
pari passu position in certain funds, when in fact they were given only a junior position. Id. at
157-59. As to this group, the district court held that their loss equaled their entire investment, with
no offset. Id. at 155-56. That holding supports the Probation Office’s loss calculation in the instant
case.

        The second group of victims in Bryson invested before the start of the conspiracy, i.e., they
had not relied on the defendants’ misrepresentations. However, other actions taken by the
defendants during the conspiracy also reduced this latter group to junior investors. Id. at 157-58.
The court determined that these victims’ foreseeable loss was “the difference in value between the
investments had they been pari passu and the junior investment.” Id. at 158. The court found the
difference in value to be 12 percent and concluded that the loss sustained by the second group of
victims was 12 percent of their investment. Id. at 159. If the Court were to adopt the offset
methodology in Bryson, then the drop in the value of CIP’s investment would be the percentage
difference between total Minimum Expected Full Term Revenue and the Actual Full Term
Revenue, see Exh. A, at 4, or 69.2 percent ($694.80 million minus $213.95 million, divided by
$694.80 million). 69.2 percent of $270,577,672 is $187,239,749. Adding the loss of $365,000
suffered by the Individual Victims, the total net loss would be $187,604,749. This net loss would
reduce the total offense level by 2 levels.

        The defendant also claims that there was no intended loss because, having invested in
Quintillion herself, she could not have intended Quintillion to lose money. (Def. Mem. at 3-4).
Her argument is unavailing. PIERCE unsuccessfully tried to negotiate legitimate revenue
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contracts with the victims in this case before resorting to forgery. She knew that her victims were
not willing to commit hundreds of millions of dollars in guaranteed take-or-pay contracts toward
a Quintillion system that was not yet built. Armed with the knowledge that the market would not
commit the revenue she was promising to CIP, PIERCE forged the contracts anyway, purposefully
seeking to inflict pecuniary harm on CIP. See U.S.S.G. § 2B1.1, comment. (n.3(A)(ii)). PIERCE
solicited financing from the Victim Firms knowing that the Fake Revenue Agreements that CIP
had counted on were unenforceable and therefore worthless. That constitutes intended loss.

        To summarize, the Government submits that CIP’s total investment is the reasonably
foreseeable actual pecuniary loss to CIP. CIP would not have assumed the risk of investing in
Quintillion at all, but for the Fake Revenue Agreements. If the Court were to apply any credits
against that loss amount in the manner described above, the net loss would be more than $150
million, but not more than $250 million, for a two-level decrease in the total offense level and a
resulting Guidelines range of 168 to 210 months’ imprisonment. 8

    B. Sophisticated Means

       1. Applicable Legal Principles

         The Sentencing Guidelines provide that the base offense level should be increased by two
levels when the offense of conviction involve sophisticated means, defined as “especially complex
or especially intricate conduct pertaining to the execution or concealment of an offense.” U.S.S.G.
§ 2B1.1(b)(10) and comment. (n.9(B)). “Conduct such as hiding assets or transactions, or both,
through the use of fictitious entities, corporate shells, or offshore financial accounts also ordinarily
indicates sophisticated means.” Id., comment. (n.9(B)). The Second Circuit has applied the
sophisticated means enhancement in cases involving fraudulent documents, marketing materials
with material misrepresentations, cover-up attempts, and careful planning. See, e.g., United States
v. Fofanah, 765 F.3d 141, 146-47 (2d Cir. 2004) (recognizing that “the creation and use of false
documents, and other tactics to conceal offense conduct, are indicia of the sophistication of an
offense” and affirming the application of the enhancement to a defendant who used fraudulent
titles, disabled car alarms, and coordinated with another person to ship stolen cars to Africa);
United States v. Stitsky, 536 F.App’x 98, 112 (2d Cir. 2013) (affirming a sophisticated means
enhancement because the defendants’ scheme “(1) lasted several years; (2) reflected very careful
planning; (3) included a careful effort to conceal the fraud by lying to business partners, lawyers
and investors; (4) relied on creating and disseminating marketing publications that contained
material misrepresentations; and (5) involved the creation of fictitious documents for the purpose
of convincing investors to give money or not to redeem their money from their [investment].”)
(internal quotation marks omitted). The Court of Appeals further instructs sentencing courts to
consider the totality of the circumstances in determining whether the sophisticated means
enhancement is warranted. See United States v. Jackson, 346 F.3d 22, 25 (2d Cir. 2003) (“[E]ven
if each step in the scheme was not elaborate, the total scheme [may be] sophisticated [when] all
the steps [are] linked together.”).

8
  Because in the Government’s view, an appropriate and not greater than necessary sentence in
this case would fall slightly below the twelve-year term recommended by the Probation Office,
neither Guideline calculation impacts the Government’s overall sentencing position.
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       2. The Two-Level Sophisticated Means Enhancement Is Warranted In This Case

        Applying the foregoing legal principles, the sophisticated means enhancement is plainly
appropriate in this case. The defendant fabricated a series of Fake Revenue Agreements and
associated order forms; knowingly provided false financial projections based on those fake
contracts for inclusion in numerous other documents, including presentations for project financing
and the Quintillion Board of Directors; concocted fake emails to create the illusion of a legitimate
customer relationship that did not in fact exist; negotiated and concealed from CIP two Interim
Right of Use Agreements with payment schedules that were designed to cover up two of the Fake
Revenue Agreements; and, instead of using Quintillion’s existing computer network, established
a separate iCloud Account that she controlled in an effort to hide the Fake Revenue Agreements
from her own staff. In addition, she executed a false agreement with Individual Victim-2 and gave
false financial projections to Individual Victim-1 to deceive them into believing that they would
obtain valuable interests in Quintillion. Taken together, and considering that such conduct spanned
four years, there can be no question that the sophisticated means enhancement is warranted in this
case.

        The defendant seeks to blame the victim and minimize the complexity of her scheme by
alleging that CIP, “an experienced venture capital company,” could have discovered the fraud by
simply contacting the Victim TelCos. To begin with, the defendant discouraged CIP from doing
just that in conversations with its representatives, asserting that she maintain the relationship with
Quintillion’s own clients. For example, Pierce told CIP representatives that Alaskans did not trust
outsiders and therefore, customer relationships should be managed by her. (PSR ¶ 31). Second,
CIP’s due diligence involved requiring copies of actual signed contracts with Quintillion’s
customers rather than relying on Pierce’s representations about those contracts. CIP could not
have detected that Pierce forged the contracts. In any case, courts have looked to the defendant’s,
not the victim’s, conduct to determine whether the sophisticated means enhancement is warranted.
See Fofanah, 765 F.3d at 146-47; Stitsky, 536 F.App’x at 112. For all of these reasons, the
Probation Office was correct to apply the sophisticated means enhancement.

V. Forfeiture and Restitution

        As a preliminary matter, the Government is troubled by the fact that the Presentence
Report’s list of assets showed that the defendant’s current residence in Texas is under her spouse’s
name (the “Texas Home”). (PSR ¶ 24). That appears to be an attempt to shield assets from
forfeiture. The Texas Home was purchased on or about May 4, 2018, shortly after a summons was
served on the defendant on or about April 11, 2018. See TitlePro 247 Property Details Report,
attached hereto as Exhibit G. On information and belief, the down payment and mortgage
payments on the Texas Home derive from the sale of her former residence in Alaska (the “Alaska
Home”) on or about April 25, 2018, for approximately $415,000. See property description,
available at <https://www.zillow.com/homedetails/3541-Admiralty-Bay-Dr-Anchorage-AK-
99515/36242_zpid/>. The Alaska Home was jointly held in Pierce’s and her spouse’s names, and
bank mortgage records showed that during the period from January 2014, to August 28, 2017, the
mortgage was paid entirely from the Pierce Bank Account, which was also jointly held by Pierce
and her husband. Yet, the Texas Home is solely in Pierce’s husband’s name. In reality, it is a joint
asset.
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        Equally disturbing is the fact that she reported a balance of $49 in a Wells Fargo retirement
account. (PSR ¶ 102). Based on bank records, the Government believes that this is the account
that Pierce opened with $30,500 of Individual Victim-1’s money. The de minimis balance means
that Pierce has depleted that sum.

        Further, records for the Pierce Bank Account showed multiple checks, each for several
thousand dollars, drawn on an account jointly held by Pierce and her husband at a bank in Canada.
That account does not appear on the list of assets in the Presentence Report. The Government
respectfully submits that the defendant be questioned about that account at sentencing.

    A. Forfeiture

       The Government submits the enclosed proposed Preliminary Order of Forfeiture/Money
Judgment for the Court’s consideration. The money judgment in the amount of $896,698.00 is
based on the following:

       (1) $733,448.00 in compensation (cash and health benefits) that the defendant received
           from Quintillion through July 2017, which she would not have received had
           Quintillion and CIP known of her fraud;

       (2) plus $231,700.00 of Individual Victim-1’s investment that the defendant used for her
           personal benefit; 9 plus

       (3) plus $40,000.00 from Individual Victim-2 that the defendant used for personal benefit;

       (4) minus $108,450.00 that the defendant invested in Quintillion in exchange for shares
           prior to CIP’s involvement.

In addition, the Government seeks to forfeit the defendant’s interest in the Texas Home and all of
her shares in Quintillion, which she would not have received had Quintillion and CIP known of
her fraud. The estimated value of the shares is $7,137,814.

    B. Restitution

       The Government also requests the Court order restitution. Restitution would include the
following:

       (1) the loss to CIP, to be decided at sentencing;

9
  Forfeiture properly includes loss due to relevant conduct. See, e.g., United States v. Venturella,
585 F.3d 1013, 1017 (7th Cir. 2009) (“The plain language of the section 981(a)(1)(C) along with
the expansive definition of “proceeds” indicates that the statute contemplates the forfeiture of
property other than the amounts alleged in the count(s) of conviction.”); accord United States v.
Lo, 839 F.3d 777, 793 (9th Cir. 2016) (“The language of the forfeiture statute broadly makes
forfeitable any property, obtained by the defendant directly or indirectly, as a result of the
commission of a mail fraud or wire fraud offense.”).
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          (2) $40,000 to Individual Victim-2; 10 and

          (3) pursuant to 18 U.S.C. § 3663A(b)(4), the costs to Victim TelCo-2 and Victim TelCo-
              3 11 of assisting with the Government’s investigation and prosecution, in the amounts
              of $80,295.20 12 and $51,018.41, respectively. Supporting documentation is attached
              hereto as Exhibits H and I.

        To ensure that funds are available for at least partial restitution, the Government requests
that the Court direct the defendant to pay an initial installment of restitution in an amount to be
determined by the Court, within 60 days of the entry of this Order, and to deposit the cash proceeds
with the Clerk of the Court. Based on the Presentence Report’s list of assets, the defendant has
assets which can be liquidated. The Government will submit a proposed Order of Restitution after
the sentencing proceeding.

VI. Motion to Redact and Anonymize

        Finally, the Government moves for permission to file redacted versions of the
Government’s sentencing submission and the exhibits. The Government seeks to redact (1) the
names of the Victim TelCos and Individual Victims in order to protect their privacy, and (2) all
financial figures.

      A. Applicable Law

        The public has a firmly rooted right of access to judicial documents that is grounded both
in common law and the First Amendment. Lugosch v. Pyramid Co., 435 F.3d 110, 119-120 (2d
Cir. 2006) (internal quotation marks and citations omitted); In the Matter of the Application of the
New York Times Company to Unseal Wiretap & Search Warrant Materials, 577 F.3d 401, 405 (2d
Cir. 2009) (“[T]here is a qualified common law ‘right to inspect and copy public records and
documents, including judicial records and documents.’”) (quoting Nixon v. Warner
Communications, 435 U.S. 589, 597 (1978)). “The presumption of access is based on the need for
federal courts . . . to have a measure of accountability and for the public to have confidence in the
administration of justice.” Id. (quoting United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir.
1995). That presumption applies only to “judicial documents,” which are items that are “relevant
to the performance of the judicial function and useful in the judicial process.” Id. (quoting
Amodeo, 71 F.3d at 1048).

      The right of access is not absolute, however, and will yield when confronted with a
compelling interest in favor of privacy. See Globe Newspaper Co. v. Superior Court for the County

10
   The proposed Restitution Order includes restitution to Individual Victim-2, because she invested
in August 2015, within the period charged in the Indictment.
11
     The other two Victim TelCos have decided not to submit a claim for restitution.
12
   Victim TelCo-2’s original claim inadvertently included approximately $75,000 in costs
associated with its internal investigation, prior to assisting the Government’s investigation. That
amount has been deducted, resulting in a claim for $80,295.20.
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of Norfolk, 457 U.S. 596, 606-07 (1982). Thus, courts may close a criminal trial to the public and
seal exhibits and transcripts if “specific, on the record findings are made demonstrating that closure
is essential to preserve higher values and is narrowly tailored to serve that interest.” Press-
Enterprise Co. v. Superior Court of California, 478 U.S. 1, 13-14 (1986) (quotation omitted).

       B. The Government Should Be Permitted To Redact/Anonymize Two Narrow
          Categories of Information

        The Government seeks to (1) anonymize the names of the Victim TelCos and Individual
Victims by replacing them with “Victim TelCo-[#]” and “Individual Victim-[#],” respectively, and
(2) redact the amount that the Victim Firms invested in Quintillion and the expected and actual
values of the CSAs, in the publicly filed version of this sentencing submission. As discussed
below, this narrowly tailored request is made to protect victim privacy and to avoid harm to CIP’s
competitive position. The unmodified original is being provided to the defense. The proposed
modified version is enclosed for the Court’s consideration.

        With respect to the names of the Victim TelCos and the Individual Victims, the
Government respectfully submits that disclosure of their actual identities is not necessary for the
public “to have confidence in the administration of justice.” The parties do not dispute their
identities, and the Government anticipates that the defense will not dispute anything in their Victim
Impact Statements. In the case of the Victim TelCos, the values of the CSAs bearing their names
may be relevant to the loss calculation, but their names are not. While their names would have to
be included in an Order of Restitution, the Schedule of Victims is commonly filed under seal,
consistent with 18 U.S.C. §§ 3771(a)(8) & 3664(d)(4). Given the absence of any need to reveal
victim names for sentencing purposes, the Government submits that the presumption of access is
overcome by the strong interest in protecting victim privacy.

        With respect to confidential business information, the Government seeks to redact the value
of the Victim Firms’ investment and the actual and expected values of the CSAs. These figures
are also not necessary for sentencing, except for the Restitution Order. The parties dispute the
methodology for calculating credits against loss, but the Government does not anticipate that the
defense will contest the dollar figures to be used in the calculation. Disclosure of those figures
could adversely affect CIP’s negotiations with customers, who may able to use knowledge of the
gap between actual and expected values or surmise the price per Gbps offered to other customers
to Quintillion’s detriment. It could also complicate Quintillion’s future efforts to raise additional
financing.

       The Government’s request is narrowly tailored and serves compelling interests of the
victims. We are not seeking to file the sentencing submission under seal, or to redact the names
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of CIP and Natixis, which have already appeared in press reports. Accordingly, the motion to
redact and anonymize two narrow categories of information in this submission should be granted.

                                        CONCLUSION

       For the reasons discussed above, the Government respectfully requests that (1) a substantial
sentence below the Guidelines range of 210 to 262 months’ imprisonment, and slightly below the
144-month range recommended by the Probation Office, be imposed, (2) the proposed Preliminary
Order of Forfeiture/Money Judgment be issued, and (3) the motion to file a redacted version of the
Government’s sentencing submission be granted. An Order of Restitution order will be promptly
submitted after the sentencing proceeding.

                                               Respectfully submitted,

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